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HOLLY T. SHIKADA
Attorney General for the State of Hawai‘i

MARIE MANUELE GAVIGAN — 6585

JUSTINE HURA 8861

Deputy Attorneys General

Department of the Attorney General
State of Hawai‘i

425 Queen Street

Honolulu, Hawai‘i 96813

Telephone: (808) 586-1300

Facsimile: (808) 586-1369

E-mail: marie.m.gavigan@hawali.gov

justine.t.hura@hawali.gov

Attorneys for Defendants
OFFICE OF THE PUBLIC DEFENDER;
JASON BAKER; MERLINDA GARMA;
LESLEY MALOIAN; MICHELE MURAOKA;
SETH PATEK; and NIETZSCHE LYNN

TOLAN
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAI‘I
JOSHUA SPRIESTERSBACH, Civil No.: 1:21-cv-00456 LEK-RT
Plaintiff, CERTIFICATE OF SERVICE
VS. [re: Defendant Michele Muraoka’s
Answer and Written Response to

STATE OF HAWAI‘, CITY AND Plaintiff's First Set of Interrogatories
COUNTY OF HONOLULU, OFFICER | and Requests for Production to
ABRAHAM K. BRUHN, Defendant Michele Muraoka, Dated
DEPARTMENT OF PUBLIC SAFETY, | March 16, 2022]
OFFICE OF THE PUBLIC
DEFENDER, NIETZSCHE LYNN
TOLAN, MICHELLE MURAOKA,

 

 

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LESLIE MALOIAN, JACQUELINE
ESSER, JASON BAKER, MERLINDA
GARMA, SETH PATEK, DR. JOHN
COMPTON, DR. MELISSA VARGO,
DR. SHARON TISZA, HAWAII
STATE HOSPITAL, DR. ALLISON
GARRETT, and JOHN/JANE DOES
1-20,

Defendants.

 

 

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the date stated below, the original
and a copy of Defendant Michele Muraoka’s Answer and Written Response to
Plaintiff's First Set of Interrogatories and Requests for Production to Defendant
Michele Muraoka, Dated March 16, 2022 was duly served upon the parties named

below, via the method indicated below, at their respective last-known addresses.

Jennifer L. Brown, Esq. 0 CM/ECF

Email: jenbrown @hawaiiinnocenceproject.org 0 Personal Service
HAWAI‘I CIVIL RIGHTS PROJECT & U.S. Postal Service
P.O. Box 8415

Honolulu, Hawai‘i 96830
Attorneys for Plaintiff
JOSHUA SPRIESTERSBACH

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Alphonse A. Gerhardstein, Esq. 0 CM/ECF
Email: al@FGGfirm.com O Personal Service
Jacqueline Greene, Esq. & U.S. Postal Service

Email: jacqueline@FGGfirm.com
FRIEDMAN, GILBERT, + GERHARDSTEIN
441 Vine Street, Suite 3400
Cincinnati, Ohio 45202

Attorneys for Plaintiff

JOSHUA SPRIESTERSBACH
Paul Hoffman, Esq. O CM/ECF
Email: hoffpaul@aol.com O Personal Service
John Washington, Esq. & U.S. Postal Service

Email: jwashington@sshhzlaw.com
SCHONBRUN, SEPLOW, HARRIS, HOFFMAN & ZELDES
200 Pier Avenue #226
Hermosa Beach, California 90254

Attorneys for Plaintiff

JOSHUA SPRIESTERSBACH

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Richard D. Lewallen 0 CM/ECF
Email: rlewallen@honolulu.gov 0X Personal Service
Robert M. Kohn & U.S. Postal Service

Email: Robert.kohn@honolulu.gov
Deputy Corporation Counsel
City and County of Honolulu
530 S. King Street, Room 110
Honolulu, Hawai‘i 96813
Attorney for Defendant
CITY AND COUNTY OF HONOLULU

Thomas E. Cook, Esq. 0 CM/ECF
Email: tcook@Ilbchlaw.com 0 Personal Service
Edquon Lee, Esq. & U.S. Postal Service

Email: elee@lbchlaw.com
LYONS, BRANDT, COOK & HIRAMATSU
1800 Davies Pacific Center
841 Bishop Street
Honolulu, Hawai‘i 96813
Attorneys for Defendant
DR. SHARON TISZA

Arthur F. Roeca, Esq. O CM/ECF
Email: aroeca@rlhlaw.com C Personal Service
Lois H. Yamaguchi, Esq. & U.S. Postal Service
Email: lyamaguchi@rlhlaw.com
ROECA LURIA SHIN LLP

841 Bishop Street, Suite 900
Honolulu, Hawai‘i 96813-3917
Attorneys for Defendant
DR. ALLISON GARRETT

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Caron M. Inagaki 0 CM/ECF
Email: caron.m.inagaki@hawaii.gov DO Personal Service
Kendall J. Moser XK U.S. Postal Service

Email: kendall.j.moser@hawali.gov
Deputy Attorneys General
Department of the Attorney General, State of Hawai‘i
425 Queen Street
Honolulu, Hawai‘i 96813
Attorneys for Defendants
STATE OF HAWAI‘I, DEPARTMENT OF PUBLIC SAFETY,
Dr. JOHN COMPTON, DR. MELISSA VARGO, and HAWalI‘I
STATE HOSPITAL

DATED: Honolulu, Hawai‘i, May 6, 2022.

/s/_ Justine Hura
MARIE MANUELE GAVIGAN
JUSTINE HURA
Attorneys for Defendants
OFFICE OF THE PUBLIC DEFENDER;
JASON BAKER; MERLINDA GARMA;
LESLEY MALOIAN; MICHELE
MURAOKA; SETH PATEK; and
NIETZSCHE LYNN TOLAN

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